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                        IN THE UNITED STATES DISTRICT COURT

                      FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                                     ORDER
                               Plaintiff,
                                                                     07-cr-159-bbc

                 v.

TROY THOMAS,

                               Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       Defendant has filed a “Motion for Discovery, Material, etc.” in which he asks for

copies of his sentencing transcript, indictment, plea agreement and other discovery

documents. He states that he wishes to use the transcripts and documents to pursue a

motion under 28 U.S.C. § 2255. I construe the motion as a request for preparation of the

transcripts at government expense, pursuant to 28 U.S.C. §753(f), which provides in

relevant part:

                 Fees for transcripts furnished in proceedings brought under
                 section 2255 of this title to persons permitted to sue or appeal
                 in forma pauperis shall be paid by the United States . . . if the
                 trial judge or a circuit judge certifies that the suit or appeal is
                 not frivolous and that the transcript is needed to decide the
                 issue presented by the suit or appeal.


       Defendant has not said what aspect of his conviction he wishes to challenge or



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explained how the transcripts and documents are necessary to decide the issue. Without this

information, I cannot certify either that his motion would not be frivolous or that the

transcripts are necessary.   Therefore, his request for preparation of the transcripts at

government expense will be denied without prejudice.

       If defendant wishes, he may obtain a copy of the transcripts at his own expense by

writing directly to the Court Reporters Office, United States District Court, 120 N. Henry

Street, Madison, WI, 53703, (608) 255-3821.




                                         ORDER

       IT IS ORDERED that defendant’s motion for preparation of transcripts at

government expense pursuant to 28 U.S.C. §753(f) is DENIED without prejudice.

       Entered this 3d day of September, 2008.

                                          BY THE COURT:
                                          /s/
                                          BARBARA B. CRABB
                                          District Judge




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